                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

                             Plaintiff,

              vs.                                  CRIMINAL NO. 16-CR-30042-DRH

LOTAWATA CREEK, INC.,
d/b/a Lotawata Creek Southern Grill

                             Defendant.


                     ORDER FOR PRESENTENCE PROCEDURE

HERNDON, District Judge:

       This matter comes before the Court for case management.                            Strict

compliance with Federal Rule of Criminal Procedure 32 and Southern District of

Illinois Local Rule Cr 32.1 shall be enforced.             A party wishing to object to a

presentence report must have such objections filed with the Clerk of the Court no

later than 14 days after receiving the presentence report. At the same time, any

objections to proposed or omitted discretionary standard or special conditions of

supervised release shall be filed with the Clerk of the Court. 1                 For counsel,

receiving is interpreted to mean when the presentence report is docketed in the

court file via CM/ECF. Responses to objections must be filed no later than 7 days

after receipt of said objections. Parties, however, are encouraged to consult with

the probation officer who authored the presentence report prior to filing

objections in an effort to obtain agreement to revise the report without necessity of

1
 The Probation Officer will not respond to objections to conditions of supervision in the
Addendum. Objections to such conditions will be addressed directly by the Court at sentencing.


                                          Page 1 of 2
formal objections. Such informal discussions are not sufficient cause to exceed

the deadlines without leave of Court for an extension of time, which likely will

impact the sentencing date. Any unresolved objections which are subject to a

formal objection shall cause the probation officer to prepare an addendum

addressing each objection.

      Any party wishing to file a sentencing memorandum relative to the issues to

be considered at sentencing, shall file such pleading no later than 7 days before

sentencing.   Likewise, should either party intend to present testimony at the

sentencing hearing, notice of the proposed witnesses, the subject of said

testimony, and projected length of the testimony shall be filed with the Court no

later than 7 days prior to the sentencing hearing, with service on opposing

counsel. Generally, the Court schedules sentencing hearings for an hour and this

information will allow the Court the opportunity to change its schedule if

necessary.

      If a party is unable to comply with this schedule, a continuance of the

sentencing date should be sought.

      IT IS SO ORDERED.
                                                                   Digitally signed by
      Signed this 14th day of April, 2016.                         Judge David R.
                                                                   Herndon
                                                                   Date: 2016.04.14
                                                                   11:33:38 -05'00'
                                             United States District Court




                                    Page 2 of 2
